           Case 7:18-cv-06923-PMH
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                                                   in NYSD        Page 1 of 1 Page 1 of 1
                                                             on 05/17/2022


                                            Law Offices of
                               JAMES E. BAHAMONDE, P.C.
                                             2501 Jody Court
                                                   Application granted. Proposed findings of fact and
                                        North Bellmore, NY 11710
                                                   conclusions of law and affidavits of direct testimony due
                                     Long Island Tel. (516) 783-9662
                                                   May   23, 2022.
                                     New York City Tel. (646)        Defendants' opposition to proposed
                                                              290-8258
                                         Fax No. (646) 435-4376 and conclusions of law, if any, shall be
                                                   findings  of fact
                                                   filed by May 31, 2022, and all materials shall be
                                       James@CivilRightsNY.com
                                                  submitted in accordance with the Court's Individual
                                                  Practices (revised May 2, 2022).
                                                                         May 17, 2022
                                                  SO ORDERED.
   BY ECF
                                                  _______________________
    Hon. Philip Halpern                           Philip M. Halpern
    Southern District of New York                 United States District Judge
    300 Quarropas St.
                                                  Dated: White Plains, New York
    White Plains, NY 10601                               May 18, 2022


                         Re.     Rance, et al v. Jefferson Village Condominium No. 5, et al
                                 18cv6923 (NSR)(JCM)
                                           (PMH)
   Dear Judge Halpern:

         I respectfully request a 5-day extension of time to file the Proposed Finding of Facts and
   Conclusion of Law, and the affidavits of direct testimony. Defendants consent to the extension of
   time.

          Plaintiffs two principal witnesses, Marlene Zarfes and Ronald Fryer have been
   unavailable. Marlene Zarfes, the Executive Director of WRO returned from vacation today, and
   Ronald Fryer moved to Florida and has been difficult to reach.

           Presently, I have a meeting with Ms. Zarfes on May 19, 2022, and will speak to Ronald
   Freyer on Saturday, May 24, 2022. Consequently, I respectfully request a five-day extension of
   time to file the Proposed Finding of Facts and affidavits of direct testimony.

          Thank you.

                                                 Respectfully Submitted,

                                                /s/ James E. Bahamonde

                                                James E. Bahamonde, Esq.

   cc:
   Eric J Sauter, Esq.
   James Marshall, Esq.
   Attorneys for Defendants
